Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 1 of 6                       PageID #: 113




                             UNITED STATES DISTRICT COURT

                                      DISTRICT OF MAINE


BRANDON B. DREWRY,                            )
                                              )
       Plaintiff                              )
                                              )
               v.                             )        1:16-cv-00075-GZS
                                              )
MAINE DEPT. OF CORRECTIONS,                   )
           et als.                            )
                                              )
       Defendants                             )


                           MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, defendants Harold

Abbott, Troy Ross, Thomas Averill and Nathan Staples hereby move for summary judgment. As

grounds for this motion, defendants state that there is no issue of material fact and that

defendants are entitled to judgment as a matter of law. Specifically, defendants state:

       1. Plaintiff failed to exhaust administrative remedies available to him before filing suit,

and his complaint of excessive force against defendants Averill and Staples is barred by the

exhaustion requirement of the Prison Litigation Reform Act; and

       2. The sanctions imposed on plaintiff as a result of the disciplinary process do not rise to

the level of an atypical and significant hardship in the context of a sentence of incarceration so as

to implicate constitutional due process protections.




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Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 2 of 6                      PageID #: 114




                       MEMORANDUM IN SUPPORT OF MOTION

                               Facts and Procedural Background

       Plaintiff Brandon Drewry is a prisoner incarcerated at the Maine State Prison (MSP). He

brings this complaint pursuant to 42 U.S.C. § 1983, alleging that the remaining defendants in the

case violated his rights secured by the Eighth and Fourteenth Amendments to the Constitution.

Specifically, Drewry claims that, on December 11, 2014, defendants Staples and Averill, MSP

corrections officers, used excessive force in attempting to subdue Drewry, causing him injury.

As to defendants Abbott, the disciplinary hearing officer, and Ross, a deputy warden, Drewry

alleges that, at a disciplinary hearing arising from the same incident, Abbott refused to allow

video evidence of the incident and found Drewry guilty of a number of disciplinary offenses, and

that Ross refused to review the video when deciding Drewry’s appeal of the disciplinary finding.

Drewry alleges that he was sanctioned with approximately 85 days of disciplinary confinement,

over $250 in monetary sanctions and loss of good time credits.

       Drewry also named a number of other defendants, including the Department of

Corrections, the commissioner, the former warden of MSP and several identified and

unidentified corrections personnel. After performing a preliminary review of the complaint and

an amendment to the complaint, the magistrate judge recommended that plaintiff’s excessive

force and due process claims be allowed to proceed only as to defendants Averill, Staples,

Abbott and Ross. The court adopted the magistrate’s recommendation, dismissing the other

defendants from the case.

       In support of their motion for summary judgment as to the claim of excessive force,

defendants have submitted the affidavit of the prison’s Grievance Review Officer, Wendell

Atkinson, which establishes the following facts: The Department has in place a grievance policy



                                                 2
Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 3 of 6                       PageID #: 115




that allows prisoners to “…request administrative review of any policy, procedure, practice,

condition of confinement, action, decision, or event that directly affects [the prisoner]…” If a

prisoner in unable to resolve the complaint informally, he may file a formal grievance with the

facility’s grievance review officer. Additional levels of review – by the chief administrative

officer of the facility and ultimately by the Commissioner of the Department of Corrections – are

available. Drewry received a copy of the grievance policy in a prisoner handbook issued to him

when he arrived at the prison in 2007. A search of the records of grievances filed by Drewry

indicates that he did not file a grievance regarding the incident of excessive force alleged in the

complaint.

       It is defendants’ position that Drewry’s failure to employ to administrative remedies of

the grievance policy bars his complaint against defendants Staples and Averill arising out of the

December 21, 2014 incident. In addition, the sanctions allegedly imposed by Abbott and

affirmed by Ross in connection with the disciplinary proceeding against Drewry do not

constitute such a deviation from the usual conditions imposed by a sentence of imprisonment as

to require that Drewry be afforded due process before they were imposed.



                                            Argument

       1. Plaintiff failed to exhaust available administrative remedies, and his complaint of

excessive force must be dismissed under the Prison Litigation Reform Act.

       The Prison Litigation Reform Act, 42 U.S.C. § 1997e(1)(a) states:

       No action shall be brought with respect to prison conditions under section 1983 of
       this title, or any other Federal law, by a prisoner confined in any jail, prison, or
       other correctional facility until such administrative remedies as are available are
       exhausted.




                                                  3
Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 4 of 6                      PageID #: 116




The exhaustion requirement applies to all claims arising from conditions of confinement, Porter

v. Nussle, 534 U.S. 516, 532 (2002), including claims that corrections officers used excessive

force. Cruz-Berios v. Gonzalez-Rosario, 630 F. 3d 7, 10 (1st Cir., 2010). A finding that plaintiff

failed to exhaust administrative remedies is dispositive of other claims in the case. Porter v.

Nussle, supra, at 16. The issue of exhaustion should be decided prior to a hearing on the merits

of the case, and a motion for summary judgment is an appropriate vehicle with which to do so.

Albino v. Baca, 747 F. 3d 1162, 1170 (9th Cir. 2014); Henderson v. Rogers, 2015 WL 1241681,

*3 (D. Me.).

       The record establishes that Drewry had available to him a multi-step grievance process

through which his complaint of excessive force could have been reviewed by the grievance

review officer, the chief administrative officer of the prison and the commissioner of the

Department of Corrections. The record also establishes that Drewry did not avail himself of this

available administrative procedure before filing this lawsuit. In these circumstances, the court is

required to dismiss his claims as to defendants Averill and Staples.



       2. The sanctions allegedly imposed by Abbott and affirmed by Ross do not

constitute such a deviation from the usual conditions of a sentence of imprisonment as to

require that Drewry be afforded the protection of due process.

       In Sandin v. Conner, 515 U.S. 472, 487 (1995), plaintiff inmate complained that he was

not afforded proper due process when confined in disciplinary segregation for violating a prison

regulation. The Court held that a prisoner’s liberty interest protected by the Due Process clause

“…will be generally limited to freedom from restraint which…imposes atypical and significant

hardship on the inmate in relation to the ordinary incidents of prison life.” Sandin, 515 U.S. 472,



                                                 4
Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 5 of 6                                      PageID #: 117




484. The Court also observed that, as opposed to punishment imposed by law on citizens who

violate the law, punishment of incarcerated prisoners could be imposed to effectuate the goals of

orderly prison management and prisoner rehabilitation. Id. at 485. The Court went on to hold

that discipline imposed by prison officials in response to a wide range of misconduct falls within

the expected contours of a sentence imposed by a court, and that confinement of an inmate to

disciplinary segregation does not constitute the type of atypical, significant deprivation that

would implicate a constitutional liberty interest. Id.

         Since the decision in Sandin, courts have held that even lengthy stays in segregated

conditions may be imposed without due process.1 See, Skinner v. Cunningham, 430 F. 3d 483,

487 (1st Cir. 2005) (placement in special segregation unit for 40 days), citing, Sealy v. Giltner,

197 F. 3d 578, 589 (2d Cir. 1999) (101 days of administrative segregation); Beverati v. Smith,

120 F. 3d 500, 504 (4th Cir. 1997) (6 months of administrative segregation.) Moreover, the

imposition of a disciplinary sentence including a fine is not a significant and atypical hardship

creating a constitutionally protected interest. McMillan v. Fielding, 136 Fed. Appx. 818 (6th Cir.

2005); Murphy v. Corizon, 2012 WL 3637902, *4 (D. Me.).

         To the extent that Sandin v. Conner declined to overrule the holding in Wolff v.

McDonnell, 418 U.S. 539 (1974), that loss of earned good time credits implicates a liberty

interest protected by the due process clause, Drewry raises a colorable claim that he was entitled

to a hearing before good time was taken away from him. See, Sandin v. Conner, 551 U.S. at

484-485; McGuiness v. Dubois, 75 F. 3d 794, 798, f.n. 3 (1st Cir. 1996) (noting that Sandin did

not retreat from holding in Wolff v. McDonnell that liberty interest in shortened prison sentence

is subject to due process protection.) The Supreme Court, however, has since ruled that such a

1
 It is not clear from the complaint whether the sanction was a period in segregation, which is served in the prison’s
Special Management Unit, or disciplinary cell restriction, during which the prisoner is confined to his own cell in his
usual housing unit.

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Case 1:16-cv-00075-GZS Document 26 Filed 04/28/16 Page 6 of 6                      PageID #: 118




claim is not cognizable in the first instance under 42 U.S.C. § 1983 but must be brought in a

proceeding to invalidate the state sentence or for habeas corpus relief. Edwards v. Balisok, 520

U.S. 641, 648 (1997). Thus, absent any allegation that the lengthening of Drewry’s sentence

through loss of previously earned good time credits has been otherwise invalidated or

overturned, his claim in this § 1983 action for restoration of those credits must be dismissed.

C.f., DeWitt v. Wall, 121 Fed. Appx. 398 (1st Cir. 2004) (per curiam) (dismissal of good time

claim to be without prejudice.)

                                           Conclusion

       For the reasons stated above, defendants request that the court enter judgment in their

favor and dismiss the complaint.

April 28, 2016                                       __/s/ James E. Fortin___
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       The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, and that he mailed a copy, postage prepaid to the
following:

Brandon Drewry
Maine State Prison
807 Cushing Road
Warren, ME 04864


April 28, 2016                                       /s/ James E. Fortin
                                                     James E. Fortin
                                                     Assistant Attorney General




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